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                            IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF DELAWARE


      DISPLAY TECHNOLOGIES, LLC,


                             Plaintiff,                         C.A. No . 1: 17-cv-01426-RGA
                     V.                                          JURY TRIAL DEMANDED
      GIBSON INNOVATIONS USA, INC. ,

                             Defendant.


                      STIPULATION AND [f$'0W~l ORDER TO DISMISS

            IT IS HEREBY STIPULATED AND AGREED, pursuant to Fed. R. Civ. P. 4l(a)(ii), by

     Plaintiff Display Technologies, LLC ("Plaintiff') and Defendant Gibson Innovations USA, Inc. ,

     ("Defendant"), through their undersigned attorneys, and subject to the approval of the Court, that

     Plaintiffs claims for relief against Defendant are dismissed without prejudice, and with all

     attorneys' fees, costs of court and expenses borne by the party incurring same.


      February 21 , 2019

      BAYARD, P.A.                                        FERRY JOSEPH, P.A.

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     Attorneys for Plaintiff Display Technologi,es, LLC   Attorneys for Defendant Gibson Innovations
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               IT IS SO ORDERED this   U--day of __~...__,,sc.........,.,___ _ _ _ _ __




                                                               ·chard G. Andrews
                                              United States District Court Judge
